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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

At World Properties, LLC
                                     Plaintiff,
v.                                                      Case No.: 1:18−cv−01973
                                                        Honorable Andrea R. Wood
Baird & Warner Real Estate
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 4, 2019:


        MINUTE entry before the Honorable Andrea R. Wood: The parties having filed a
stipulation of dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) [97], this case is
dismissed with prejudice and with each party to bear its own attorneys' fees and costs. All
pending hearing dates and motions are stricken. Civil case terminated. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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